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(srss)

United States District Court m BY " D-C..-

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Western District of Tennessee

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U.S.A. vs. Brenda Colbert Docket No. OS-ZV(IiDp§-ii"

Petition for Action on Conditions of Pretrial Release

COMES NOW PRETR]AL SERVICES OFFICER Angela K. Yates presenting an official report upon the
conduct of defendant who was placed under pretrial release supervision by the Honorable Tu M. Pham sitting in
the court at Memphis, on the 15"‘ day of April, 2005, under the following conditions:

l) Report as directed by Pretrial Services.

2) Maintain or actively seek employment

3) Refrain from possessing a destructive device, firearm, or other dangerous weapon

4) R.efrain from any use or unlawthl possession of any narcotic drug or other controlled substances

5) Submit to any method of testing required by Pretrial Services for determining whether the defendant is using a
prohibited substance

6) Participate in substance abuse counseling or treatment if deemed advisable by Pretrial Services.

7) Travel restricted to the Western District of Tennessee without prior approval from Pretrial Services.

RESPECTFULLY PR.ESENTING PETITION FOR ACTION OF COURT AND FOR CAUSE AS FOLLOWS:
(If short insert here: if lengthy write on separate sheet and attach)

SEE ATTACHMENT

PRAYING THAT THE COURT WILL ORDER the issuance of a warrant that Brenda Colbert may appear and
show cause as to why her bond should not be revoked.

BOND RECOMMENDATION: No Bond / Detention

 
  
 

ORDER OF COURT I declare under penalty of perjury that the
foregoing is true and correct

Considered and ordered this

day of 20 and ordered Execut@d OH §.,,£.j, ¢‘3, 020¢%"

 

filed and made records in the above v% r

U.S. Prctrial gwices Officer

U.S. District Jud£§agistrate l Place Mernphis, TN

 

 

Tbis document entered on the docket sheet in compliance

with Hul le -55 ami/or 32(b) FHCrP on 2 [,szQ y

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Colbert, Brenda

1) Maintain or actively seek employment

Ms. Colbert has failed to provide any proof of employment or proof that she is actively seeking
employment throughout her period of supervision

2) Refrain from the use or unlawful possession of any narcotic drug or other controlled
substances

The defendant submitted a urinalysis specimen on April 19, 2005, at the Pretrial Services Office,
which tested positive for marijuana On May 20, 2005, Ms. Colbert signed a Voluntary
Admission of Illegal Drug Use form indicating that she smoked marijuana on or about May 18,
2005 . Defendant Colbert submitted a urinalysis specimen on May 27, 2005, at ACAR, which
tested positive for marijuana

3) Submit to any method of testing required by Pretrial Services for determining Whether the
defendant is using a prohibited substance

Ms. Colbert failed to submit a urinalysis specimen as directed on June 20, 2005, and June 25,
2005.

4) Participate in substance abuse counseling or treatment if deemed advisable by Pretrial
Services.

The defendant was referred to drug treatment at ACAR on May 26, 2005. Brenda Colbert failed
to attend her counseling session at ACAR on June 15, 2005, and June 29, 2005.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:05-CR-20122 Was distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listed

 

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

